       Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 1 of 17



                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 R.B.,                                        §
         Plaintiff,                           §
                                              §
  v.                                          §   CIVIL ACTION NO. 4:19-cv-03004
                                              §
  JENNIFER M. SMITH, et al.,                  §
      Defendants.                             §


                        DEFENDANTS’ MOTION TO DISMISS


         Plaintiff R.B. is a student at Texas A&M University. See Plaintiff’s Amended

Complaint, Doc. 26 ¶ 3. In the spring of 2019, the University learned that four different

women claimed that R.B. had harassed them. Id. ¶¶ 37–44. The University investigated

the claims. See id. ¶¶ 37–45. Ultimately, R.B. was found not responsible for all claims of

sexual harassment and misconduct, but R.B. did accept responsibility for punching a

wall, id. ¶ 65, for which he was placed on probation. Id.

         Despite prevailing on the allegations of sexual misconduct that gave rise to this

suit, R.B. challenges the process underpinning those findings of non-responsibility. Not

only does that put this matter in an odd procedural posture (generally, prevailing parties

do not sue after their victory), but it also means that R.B. has not pleaded, and cannot

plead, a cognizable injury. He lacks standing because he has not suffered an injury, and




Defendants’ Motion to Dismiss                                                      Page 1
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 2 of 17



his claims against the individual defendants do not overcome their assertions of

qualified immunity. This case should be dismissed.

                                I.   FACTUAL BACKGROUND

        In the Spring of 2019, Texas A&M University learned that R.B. was alleged to

have committed sexual misconduct by harassing women and making unwanted sexual

contact with women in the Freshman Leadership Organization. Id. ¶ 37.

        R.B. received a letter from Defendant Jaclyn Upshaw-Brown on March 29, 2019,

which informed him that the University’s Offices of the Dean of Student Life, Student

Conduct Office had been forwarded concerns about his interactions with a fellow

student. Id. ¶ 38. An investigation ensued, and a report was provided to Defendant

Anne Reber, the Dean of Student Life. Id. ¶ 39. One of the charges was that he had

punched a hole in the wall at a residence when a girl refused to date him. Id. ¶ 43.

        A hearing was held on July 30, 2019, and R.B. was able to participate by

teleconference and consult with his advisor. Id. ¶ 49. On July 31, 2019, R.B. was found

responsible for sexual harassment of two complainants but not responsible for

harassment of two others. Id. ¶ 55. He was also found responsible for damaging a wall.

Id. The recommended punishment for the findings of responsibility for these violations

of the Student Conduct Code was a year of suspension. Id. ¶ 56.

        Before the suspension took effect, R.B. internally appealed the outcome of his

hearing and simultaneously filed this lawsuit. Id. ¶¶ 57–58. The parties agreed to delay

a hearing in this Court on R.B.’s application for temporary restraining order until after
Defendants’ Motion to Dismiss                                                      Page 2
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 3 of 17



the full internal appeal process had run its course. See Doc. 15.

        The next steps of the internal appeal process mooted R.B.’s application for

temporary restraining order. The University remanded the matter for a Student Life

Conduct Conference. Id. ¶ 59. At that conference, R.B. was offered the opportunity to

present a defense. Id. ¶ 65. The complainants did not appear. Id. R.B. accepted

responsibility for and was found responsible for punching the wall, and was found not

responsible for the sexual misconduct allegations. Id. The punishment for the finding

of the responsibility for the destruction of property was probation. Id. As he was found

not responsible of the sexual misconduct allegations, R.B. was never subjected to the

suspension and is currently enrolled at the University.

        After the completion of this Student Conduct Conference, R.B. filed an amended

complaint. See Doc. 26. In it, R.B. sues a number Texas A&M employees in their official

and individual capacities. He asserts Fourteenth Amendment due process claims. First,

he asserts that the University’s Title IX hearing process violates the Constitution. Id. ¶

73–93. He argues that the University permits hearsay evidence and that other aspects

of the process are inadequate.

        He also asks for an injunction “prohibiting the imposition of, or reporting of,

any disciplinary actions by TAMU under the current policies and procedures for the

investigation and adjudication of alleged sexual misconduct.” Id. ¶ 92. Relatedly, he

asserts individual capacity claims against Defendants Reber, Upshaw-Brown, and

Jennifer Smith, the University’s Title IX coordinator. See id. ¶¶ 4–6.
Defendants’ Motion to Dismiss                                                      Page 3
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 4 of 17



        For the reasons discussed below, these claims should be dismissed.

                                II.   STANDARD OF REVIEW

        Defendants bring this motion under Federal Rules of Civil Procedure 12(b)(1),

for lack of jurisdiction, and 12(b)(6), for failure to state a claim. “A case is properly

dismissed for lack of subject matter jurisdiction when the court lacks statutory or

constitutional power to adjudicate the case.” Home Builders Ass’n of Miss., Inc. v. City of

Madison, Miss., 143 F.3d 1006, 1010 (5th Cir. 1998) (citation omitted). And the party

seeking to invoke jurisdiction bears the burden of demonstrating its existence. See

Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001).

         “[A] court finding that a party is entitled to sovereign immunity must dismiss

the action for lack of subject-matter jurisdiction.” Ackerson v. Bean Dredging LLC, 589

F.3d 196, 207 (5th Cir. 2009). In the same vein, if a court finds that a defendant is

entitled to qualified immunity, dismissal is appropriate under Rule 12(b)(6). See, e.g.,

Anderson v. Valdez, 845 F.3d 580, 589–90 (5th Cir. 2016).

                                      III.   ARGUMENT

A.      R.B. lacks standing to sue Defendants because he was found not
        responsible for sexual misconduct during his student disciplinary hearing.

        This court should dismiss R.B.’s claims for lack of standing. To establish

standing, a plaintiff must show: (1) an actual or imminent, concrete and particularized

“injury-in-fact”; (2) that is fairly traceable to the challenged action of the defendant

(causation); and (3) that is likely to be redressed by a favorable decision (redressability).

Defendants’ Motion to Dismiss                                                         Page 4
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 5 of 17



Friends of the Earth, Inc. v. Laidlaw Envt’l. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000).

All three elements are “an indispensable part of the plaintiff’s case” and the party

seeking to invoke federal jurisdiction bears the burden to establish them. Lujan v.

Defenders of Wildlife, 504 U.S. 555, 561 (1992). Jurisdiction is “a threshold issue that must

be resolved before any federal court reaches the merits of the case before it.” Perez v.

U.S., 312 F.3d 191, 194 (5th Cir. 2002); Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83,

94–95 (1998).

        An injury-in-fact requires “an invasion of a legally protected interest which

is . . . concrete and particularized,” not conjectural or hypothetical. Lujan, 504 U.S. at

560. Except for conclusory statements, not entitled to deference, see Plotkin v. IP Axess

Inc., 407 F.3d 690, 696 (5th Cir. 2005) (“We do not accept as true conclusory allegations,

unwarranted factual inferences, or legal conclusions.”), R.B. has not alleged he has

suffered an injury aside from the possible threat of a hypothetical injury that may result

from a theoretical future administrative hearing. 1

        The Supreme Court and the Fifth Circuit have repeatedly held that past harms

are insufficient to create standing to seek prospective injunctive relief. Los Angeles v.

Lyons, 461 U.S. 95, 105-07 (1983); O’Shea v. Littleton, 414 U.S. 488, 495-96 (1974); Deutsch



        1
          To the extent R.B. claims he is injured because he has incurred attorneys’ fees, attorneys’
fees alone are not sufficient to confer standing. See Steel Co. v. Citizens for a Better Environment, 523 U.S.
83, 108 (1998). Otherwise, any litigant could establish standing by retaining a lawyer and incurring
fees. The limitation of federal court jurisdiction would be nonexistent.


Defendants’ Motion to Dismiss                                                                         Page 5
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 6 of 17



v. Annis Enters., Inc., 882 F.3d 169, 172 (5th Cir. 2018) (per curiam); Machete Prods., L.L.C.

v. Page, 809 F.3d 281, 288 (5th Cir. 2015). To obtain prospective injunctive relief, a

plaintiff has the burden to establish standing by putting on evidence that the

“threatened injury is ‘certainly impending’” or that there is a “‘substantial risk’ that the

harm will occur.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (quoting

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409, 414 n.5 (2013)).

        In Deutsch, for example, a man who used a wheelchair alleged a violation of the

Americans with Disabilities Act when he encountered several physical obstacles while

entering a women’s hair salon. 882 F.3d at 172. The Court dismissed his lawsuit for lack

of standing because he failed to demonstrate that he ever intended to visit the salon

again. Id. at 174. As the Court stated, “[m]erely having suffered an injury in the past is

not enough; the plaintiff must show a ‘real or immediate threat that the plaintiff will be

wronged again.’” Id. at 173 (quoting Lyons, 461 U.S. at 111).

        R.B. claims his due process rights were violated during the hearing with regards

to the sexual misconduct allegations. But he was found not responsible for the alleged

sexual misconduct, and has not been subject to any punishment as a result. He also has

not alleged that he is currently under investigation for any other allegation of sexual

misconduct. As a result, his suit is merely theoretical: if he is accused of sexual

misconduct in the future, if the university follows certain procedures, if he is found

responsible, and if he is suspended or otherwise punished in a way that would bring his

case within this court’s jurisdiction. However, today—in which Plaintiff has been found
Defendants’ Motion to Dismiss                                                          Page 6
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 7 of 17



not responsible and has not been subjected to suspension or any other sanction for

sexual misconduct—Plaintiff has not suffered an imminent and concrete injury in fact.

See Littleton, 414 U.S. at 496–97 (1974) (“[I]t seems to us that attempting to anticipate

whether and when these respondents will be charged with crime and will be made to

appear before either petitioner takes us into the area of speculation and conjecture. . . .

We assume that respondents will conduct their activities within the law and so avoid

prosecution and conviction as well as exposure to the challenged course of conduct said

to be followed by petitioners.”). Because R.B. lacks standing, all of his claims should be

dismissed.

B.      R.B.’s official capacity claims are barred by sovereign immunity.

        Plaintiff brings his due process claims against the Defendants in their official

capacities. By doing so, Plaintiff seeks to fall within the Ex parte Young doctrine. 209

U.S. 123 (1908). This doctrine provides for an exception to sovereign immunity to

“permit the federal courts to vindicate federal rights.” See Virginia Office for Prot. &

Advocacy v. Stewart, 563 U.S. 247, 255 (2011). Under it, when a state official violates a

federal law, she is not the State for sovereign immunity purposes. Id. However, “the

doctrine is limited to this precise situation, and does not apply when the state is the real,

substantial party in interest, as when the judgment sought would expend itself on the

public treasury or domain, or interfere with public administration.” Id. (internal citations

and quotation marks omitted). To determine if the Ex parte Young doctrine circumvents

the Eleventh Amendment’s bar to suit, a court conducts a “straightforward inquiry into
Defendants’ Motion to Dismiss                                                         Page 7
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 8 of 17



whether the complaint alleges an ongoing violation of federal law and seeks relief

properly characterized as prospective.” Verizon Md., Inc. v. Public Serv. Comm’n of Md.,

535 U.S. 635, 645 (2002).2

        Thus, Ex parte Young requires that a plaintiff’s suit articulate an ongoing violation

of federal law and that the complaint seek relief properly characterized as prospective. See

id. The Supreme Court has repeatedly instructed that the Eleventh Amendment bars a

retrospective declaration of a violation of federal law where, as here, there is “no

claimed continuing violation of federal law.” Green v. Mansour, 474 U.S. 64, 73 (1985);

see also Saltz v. Tenn. Dep’t of Emp’t Sec., 976 F.2d 966, 968 (5th Cir. 1992) (explaining that

Eleventh Amendment precludes an award of injunctive or declaratory relief that is not

prospective in effect); Verizon, 535 U.S. at 645.

        For the reasons discussed above, R.B. can only allege past harms, not future ones,

and thus, he cannot seek prospective injunctive relief. R.B. has not plausibly pleaded

any ongoing violations of federal law sufficient to overcome Defendants’ sovereign

immunity. Another court in this Division recently dismissed a similar claim raising an


        2
          Relatedly, the Supreme Court has indicated that courts should not entangle themselves in
abstract disagreements about administrative policies and practices and, instead, should let the
administrative process run its course. The Court wrote: “Ripeness is a justiciability doctrine designed
‘to prevent the courts, through avoidance of premature adjudication, from entangling themselves in
abstract disagreements over administrative policies, and also to protect the agencies from judicial
interference until an administrative decision has been formalized and its effects felt in a concrete way
by the challenging parties.” See Nat’l Park Hospitality Ass’n v. Dep’t of Interior, 538 U.S. 803, 807–08
(2003) (citation omitted). R.B.’s suit was not ripe when he filed it, because Texas A&M’s internal
administrative process had not run its course. But because R.B. has amended his complaint and his
operative claims, Defendants do not press the argument in this brief that R.B.’s claims should be
dismissed on ripeness grounds.
Defendants’ Motion to Dismiss                                                                   Page 8
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 9 of 17



objection to a past administrative hearing that had resulted in victory for the plaintiff.

See Spec’s Family Partners, Ltd. v. Exec. Dir. of the Tex. Alcoholic Beverage Comm’n, 2019 WL

4097496, at *3 (S.D. Tex. Aug. 28, 2019) (“Plaintiff failed to allege a continuing violation

of federal law which is necessary to avoid the immunity to which state officials are

entitled under the Eleventh Amendment. Here, all that Plaintiff seeks is compensation

for the enforcement proceedings and deterrence against TABC from initiating

enforcement proceedings like those initiated against Plaintiff. While the effects to

plaintiff may be ongoing, they flow from a single, allegedly defective administrative

hearing in the past, which will not be repeated.”). Likewise, R.B.’s prior administrative

hearing will not be repeated, and he cannot plausibly claim otherwise. R.B.’s claims

against Defendants in their official capacities should therefore be dismissed.

C.      The officials are entitled to qualified immunity.

        “Qualified immunity protects public officials from suit unless their conduct

violates a clearly established constitutional right.” Mace v. City of Palestine, 333 F.3d 621,

623 (5th Cir. 2003). After a government official asserts the affirmative defense of

qualified immunity, the burden shifts to the plaintiff to show that the defendant’s

conduct violated clearly established statutory or constitutional rights of which a

reasonable person would have been aware. Whatley v. Philo, 817 F.2d 19, 20 (5th Cir.

1987). Whether a defendant is entitled to qualified immunity is a question on which a

plaintiff has the burden of proof. Kovacic v. Villarreal, 628 F.3d 209, 212 (5th Cir. 2010).



Defendants’ Motion to Dismiss                                                          Page 9
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 10 of 17



        A public official is entitled to qualified immunity unless a plaintiff demonstrates

(1) a violation of a constitutional right, and (2) that the right at issue was clearly

established at the time of the violation. Pearson v. Callahan, 555 U.S. 223, 230-32 (2009).

“To be clearly established, a right must be sufficiently clear that every reasonable official

would have understood that what he is doing violates that right.” Reichle v. Howards, 566

U.S. 658, 664 (2012) (internal citations omitted). “In other words, ‘existing precedent

must have placed the statutory or constitutional question beyond debate.’” Id.

        Thus, to surmount the assertion of qualified immunity, R.B. must plead sufficient

specific facts to show that (1) Defendants violated a constitutional right of R.B.’s, and

(2) in light of the facts and law available to them, every reasonable official would have

known they were violating that right. Reichle, 566 U.S. at 664; Ashcroft v. Iqbal, 556 U.S.

662, 675 (2009); Kinney v. Weaver, 367 F.3d 337, 350 (5th Cir. 2004). R.B.’s claims against

Defendants satisfy neither requirement.

        First, R.B. has not alleged a cognizable violation of his constitutional rights. The

United States Supreme Court has stated that “[s]ince the time of our early explanations

of due process, we have understood the core of the concept to be protection against

arbitrary action.” Cnty. of Sacramento v. Lewis, 523 U.S. 833, 845 (1998). The core of due

process is the protection of the individual from the arbitrary action of the government,

whether the violation is a denial of fundamental procedural fairness (procedural due

process), or the exercise of power without any reasonable justification to serve a

legitimate government objective (substantive due process). Id. at 845–46.
Defendants’ Motion to Dismiss                                                        Page 10
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 11 of 17



        “The constitutional violation actionable under § 1983 is not complete when the

deprivation occurs; it is not complete unless and until the State fails to provide due

process.” Zinermon v. Burch, 494 U.S. 113, 126 (1990). As such, a procedural due process

claim “is not ripe until the process complained of has reached its completion.” Wiley v.

Tex. State Univ., 2019 WL 317247, *4 (W.D. Tex. Jan. 24, 2019) (dismissing a tenured

faculty member’s procedural and substantive due process claims as unripe because the

due process hearing to which the parties agreed the plaintiff was entitled had not yet

taken place). “Because the remedy for a procedural due process claim is more process,

it makes little sense to adjudicate such claim before the process is complete.” Id. Here,

as discussed supra, R.B. did not suffer any injury because the process did not result in a

finding of responsibility as it pertained to the charges of sexual misconduct. He was

only found responsible for punching a wall, a charge he admitted to. For that reason

alone, R.B. has not pleaded a constitutional injury.

        Moreover, although students have substantive and procedural rights at school,

“§ 1983 was not intended to be a vehicle for federal court correction of errors” in the

exercise of school administrators’ discretion that do not rise to violations of specific

constitutional guarantees. Wood v. Strickland, 420 U.S. 308, 326 (1975) (holding that

“§1983 does not extend the right to relitigate in federal court evidentiary questions

arising in school disciplinary proceedings or the proper construction of school

regulations.”); see also Plummer v. Univ. of Houston, 860 F.3d 767, 773 (5th Cir. 2017)

(stating that “[a] university is not a court of law, and it is neither practical nor desirable
Defendants’ Motion to Dismiss                                                         Page 11
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 12 of 17



it be one.”). Indeed, the Supreme Court has stated that a “school is an academic

institution, not a courtroom or administrative hearing room.” Bd. Of Curators of University

of Mo. v. Horowitz, 435 U.S. 78, 88 (1978). R.B.’s allegations ignore this reality and come

nowhere close to showing, through specific factual averments, how the process

employed during his hearing failed to comport with the Due Process Clause.

        Further, there is also no clearly established law that the process employed to

resolve the allegations of sexual misconduct violated R.B.’s due process rights. “To

establish a denial of procedural due process, [a plaintiff] must show substantial

prejudice.” Keough v. Tate County Bd. of Educ., 748 F.2d 1077, 1083 (5th Cir. 1984).

Abstract disagreements about how a hearing is to take place do not suffice. See id. Thus,

R.B. cannot maintain a suit challenging the University’s process in the abstract, but must

point to specific deprivations of his due process rights caused by the process employed

during his hearing. He has not done so. Moreover, case law is developing on the process

a university must provide a student accused of sexual misconduct.

        Therefore, there is certainly no “single ‘controlling authority’ nor a ‘robust

consensus of persuasive authority,’” see Morgan v. Swanson, 659 F.3d 359, 382 (5th Cir.

2011) (citation omitted), that would give Defendants an indication that the University’s

process violated the Due Process Clause by not allowing direct cross-examination. 3 See,


        3
          R.B.’s other complaints about the University’s process—for instance, that the University
does not compel attendance of witnesses, Doc. 26 ¶ 79—suffer from a similar defect: R.B. cannot
identify any robust consensus of authority that the University’s procedures in this regard violate the
Due Process Clause. As it is his burden to identify such case law in response to a qualified immunity
Defendants’ Motion to Dismiss                                                                Page 12
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 13 of 17



e.g., Doe v. Cummins, 662 F. App’x 437, 448 (6th Cir. 2016) (no due process violation

where cross-examination was limited to one round of written questions to be asked by

disciplinary panel and panel did not ask all the questions); Nash v. Auburn Univ., 812

F.2d 655, 664 (11th Cir. 1987) (no due process right to ask direct cross-examination

questions instead of through university representative); Xiaolu Peter Yu v. Vassar College,

97 F. Supp. 3d 448, 465 (S.D. N.Y. 2015) (cross-examination through hearing chair did

not, as a matter of law, violate due process rights); Johnson v. Temple University, 2013 WL

5298484, at *11 (E.D. Penn. 2013) (having questions asked through hearing officer did

not violate due-process rights); Doe v. Baum, 903 F.3d 575, 583 (6th Cir. 2018) (holding

that “the university must allow for some form of live questioning in front of the fact-

finder” but also noting that the accused student may not always have the right to

personally confront his accuser and other witnesses (emphasis omitted)). And R.B.’s

allegations that the process is “biased,” e.g., Doc. 26 ¶ 79, are conclusory and need not

be accepted as true. Iqbal, 556 U.S. at 678; see, e.g., Taylor ex rel. Gordon v. Corsicana

Residential Treatment Ctr., 2001 WL 1295522, at *2 (N.D. Tex. Oct. 15, 2001) (finding

that “vague and conclusory allegations” in complaint, including that defendants did not

“honor[] what they say they stand for,” were “insufficient to state a claim for relief

under the ADA.”). In light of this morass of case law, R.B. cannot point to any case

clearly stating that any action the individual administrators took violated his clearly



defense, this dearth of authority must result in the dismissal of his individual capacity claims.

Defendants’ Motion to Dismiss                                                                       Page 13
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 14 of 17



established rights.

        Finally, in any event, R.B. has not provided any particularized allegations about

how these individual Defendants violated his due process rights. This contravenes the

Supreme Court’s explicit instructions in Iqbal that “the pleading standard [in] Rule 8

. . . demands more than an unadorned, the defendant-unlawfully-harmed-me

accusation.” Id. at 678 (citation and internal quotation marks omitted). Instead, R.B.

must plead specific, plausible facts showing that these particular Defendants violated his

constitutional rights. See id. at 682. The Amended Complaint barely mentions the three

named Defendants, and it comes nowhere close to the specificity required by Rule 8 or

the Twombly/Iqbal pleading standard.

        For all of these reasons, R.B.’s individual capacity claims must be dismissed.

                                 IV.    RULE 7(A) REPLY

        Alternatively, it is proper for this Court to consider at the motion to dismiss stage

whether this suit must be dismissed if, pursuant to the Schultea procedure, Defendants

invoke Federal Rule of Civil Procedure 7(a), which requires R.B. to file a reply that

pleads specific facts to specifically engage the qualified immunity defense. See Schultea v.

Wood, 47 F.3d 1427, 1433 (5th Cir. 1995) (noting that if “a public official pleads the

affirmative defense of qualified immunity . . . the district court may . . . require the

plaintiff to reply to that defense in detail . . . the reply must be tailored to the assertion

of qualified immunity and fairly engage its allegations”). In the event that the Court

does not grant Defendants’ Motion to Dismiss on the basis of the arguments discussed
Defendants’ Motion to Dismiss                                                         Page 14
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 15 of 17



above, Defendants invoke Rule 7(a) and request that the Court order R.B. to file a Rule

7(a) reply to fairly engage the defenses articulated in this brief. 4 See id. at 1434

(“[v]indicating the [qualified] immunity doctrine will ordinarily require [a Rule 7(a)]

reply, and a district court’s discretion not to [require such a reply] is narrow indeed

when greater detail might assist”).

                                        V.      CONCLUSION

        R.B. lacks standing to proceed on his claims. In addition, his official capacity

claims should be dismissed because he cannot establish an ongoing violation of his

constitutional rights that would warrant a prospective injunction. R.B.’s individual

capacity claims should be dismissed because he cannot overcome Defendants’ qualified

immunity defense. For all of these reasons, the Court should dismiss R.B.’s suit.




        4
           This Rule 7(a) reply procedure and the subsequent decision by this Court on the motion to
dismiss should precede any discovery in this case. See Schultea, 47 F.3d at 1434 (a court “need not allow
any discovery unless it finds that plaintiff has supported his claim with sufficient precision and factual
specificity to raise a genuine issue as to the illegality of defendant’s conduct at the time of the alleged
acts”).

Defendants’ Motion to Dismiss                                                                     Page 15
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 16 of 17



                                     Respectfully submitted.

                                     KEN PAXTON
                                     Attorney General of Texas

                                     JEFFREY C. MATEER
                                     First Assistant Attorney General

                                     DARREN L. MCCARTY
                                     Deputy Attorney General for Civil Litigation

                                     THOMAS A. ALBRIGHT
                                     Chief, General Litigation Division

                                     /s/ Michael R. Abrams
                                     MICHAEL R. ABRAMS
                                     Texas Bar No. 24087072
                                     Southern District No. 2513900
                                     CRISTINA M. MORENO
                                     Texas Bar No. 24105023
                                     Southern District No. 3195054
                                     Assistant Attorneys General
                                     Office of the Attorney General
                                     General Litigation Division
                                     P.O. Box 12548, Capitol Station
                                     Austin, Texas 78711-2548
                                     (512) 463-2120 | FAX: (512) 320-0667
                                     michael.abrams@oag.texas.gov
                                     cristina.moreno@oag.texas.gov

                                     Counsel for Defendants




Defendants’ Motion to Dismiss                                               Page 16
     Case 4:19-cv-03004 Document 40 Filed on 10/31/19 in TXSD Page 17 of 17




                                CERTIFICATE OF SERVICE
      I hereby certify that on October 31, 2019, a true and correct copy of the
foregoing document was served via the Court’s CM/ECF system to all counsel of
record.


                                        /s/ Michael R. Abrams
                                        MICHAEL R. ABRAMS
                                        Assistant Attorney General




Defendants’ Motion to Dismiss                                           Page 17
